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                 EXHIBIT 13
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Bozorgi, Mahammad                                           May 17, 2024



                IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF TEXAS
                          AUSTIN DIVISION



     In re CASSAVA SCIENCES INC.        )
     SECURITIES LITIGATION,             )
                                        )
     __________________________________ ) Master File No.
                                        ) 1:21-cv-00751-DAE
     This Document Relates to:          )
                                        )
                 ALL ACTIONS.           )
     ___________________________________)




             VIDEOTAPED DEPOSITION OF MOHAMMAD BOZORGI

                       SAN DIEGO, CALIFORNIA

                        FRIDAY, MAY 17, 2024

                              9:14 A.M.




     Stenographically reported by:

     Kayla Lotstein
     California CSR No. 13916, CRR, RPR, CRC




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                                                                           60
  1         A      No, sir.                                        10:38:08

  2         Q      Did you invest in any securities before then?   10:38:15

  3         A      Could you please repeat this question and       10:38:21

  4    clarify for me.                                             10:38:22

  5         Q      Sure.                                           10:38:24

  6                Have you ever bought stock in any company       10:38:25

  7    before you opened your HSBC account?                        10:38:27

  8         A      No.                                             10:38:30

  9         Q      The first document of the day.                  10:38:37

 10         A      Oh, good.                                       10:38:39

 11         MR. CAMPBELL:       I'll mark this as Bozorgi 1.       10:38:40

 12                (Whereupon Exhibit 1 was marked for             10:38:59

 13                identification.)                                10:38:59

 14    BY MR. CAMPBELL:                                            10:38:59

 15         Q      Do you recognize this document?                 10:39:03

 16         A      Please give me time to read it.                 10:39:13

 17         Q      Take your time.                                 10:39:14

 18         A      Okay, sir.                                      10:41:44

 19         Q      My question was do you recognize this           10:41:45

 20    document?                                                   10:41:46

 21         A      Yes, sir.                                       10:41:47

 22         Q      Did you draft it?                               10:41:48

 23         A      Yes, sir.                                       10:41:49

 24         Q      In paragraph 1, it says you have over 20 years 10:41:51

 25    of investment experience; is that right?                    10:41:59




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                                                                           61
  1            A    That is correct, sir.                             10:42:01

  2            Q    What's your 20 years of investment experience? 10:42:02

  3            A    This is related to my construction business.      10:42:08

  4    Real estate, basically.      That's what I mean by that.       10:42:12

  5            Q    What investments have you made in real estate? 10:42:16

  6            A    I have bought some property and sold before.      10:42:20

  7            Q    What properties have you bought and sold?         10:42:25

  8            A    In Iran, and one property in Los Angeles I had 10:42:27

  9    many years before, in Malibu.                                  10:42:34

 10            Q    What properties have you bought and sold in       10:42:38

 11    Iran?                                                          10:42:41

 12            A    Rental properties, mainly.                        10:42:42

 13            Q    What rental properties?                           10:42:46

 14            A    The ones we spoke about.                          10:42:48

 15            Q    The two rental properties that you own in         10:42:52

 16    Iran?                                                          10:42:54

 17            A    Correct, sir.                                     10:42:55

 18            Q    You inherited those; right?                       10:42:56

 19            A    Inherited and some of them -- some also I did     10:42:58

 20    through the trading that I did myself.       Not all of it's   10:43:03

 21    inherited.     Part of it is inherited.    Part of it was my   10:43:07

 22    own working experience.                                        10:43:12

 23            Q    You own a five-unit residential building in       10:43:16

 24    Tehran; right?                                                 10:43:20

 25            A    That is correct.                                  10:43:21




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                                                                           62
  1         Q      Did you purchase that?                             10:43:22

  2         A      Well, as I told you, see, some of it was           10:43:23

  3    inheritance money I invested, and then at the end, I buy 10:43:27

  4    this five-story building.                                      10:43:31

  5                It was not all inheritance money.    Some of       10:43:34

  6    them I made investment buying and selling.      At the end,    10:43:37

  7    I buy the five-story apartment.                                10:43:40

  8         Q      So you purchased the five-story building?          10:43:45

  9         A      Yes, sir.   Yes.   See, I have -- I have           10:43:48

 10    inherited, you know, some properties, my parents'              10:43:51

 11    property.     I have turn them into, you know, a better        10:43:56

 12    investment.                                                    10:44:00

 13                In other words, I sold them.    I purchased this 10:44:02

 14    property in Tehran, but the one in Shiraz is my                10:44:05

 15    inheritance.                                                   10:44:10

 16         Q      What properties did you inherit from your          10:44:12

 17    parents?                                                       10:44:14

 18         A      The one that's in Shiraz.    It was not -- it      10:44:15

 19    was a land.     I built it myself.                             10:44:17

 20         Q      So you inherited the land --                       10:44:20

 21         A      Correct.                                           10:44:23

 22         Q      -- in Shiraz?                                      10:44:23

 23                And you built the building that houses the         10:44:26

 24    five shops?                                                    10:44:28

 25         A      Correct, sir.                                      10:44:29




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                                                                            196
  1    right?                                                            02:36:08

  2          A      That is correct, sir.                                02:36:09

  3          Q      Okay.   So that's more than $300,000 worth of        02:36:14

  4    Cassava stock; is that right?                                     02:36:17

  5          MR. DROSMAN:     Objection.     Vague and ambiguous.        02:36:22

  6          MR. CAMPBELL:     You don't like math.     You always       02:36:23

  7    think it's vague.                                                 02:36:23

  8          MR. DROSMAN:     Well, if you want to give him a            02:36:23

  9    calculator and do the math.         I don't think that's fair     02:36:23

 10    to ask him whether 76.81 times, you know, 4400 is a               02:36:27

 11    certain number.      I can't do it in my head.                    02:36:32

 12          MR. CAMPBELL:     I bet you can do 4 times 74.              02:36:36

 13          MR. DROSMAN:     No.   I can't do it.                       02:36:39

 14          MR. CAMPBELL:     I bet he can.                             02:36:40

 15          THE WITNESS:     Let's make a bet.                          02:36:42

 16          MR. CAMPBELL:     All right.                                02:36:43

 17          MR. DROSMAN:     You'd be losing that bet.     I can't do 02:36:43

 18    it.   I'm not kidding.                                            02:36:43

 19    BY MR. CAMPBELL:                                                  02:36:45

 20          Q      I'll represent to you 4 times 75 is 300.             02:36:45

 21    All right.                                                        02:36:49

 22          A      Okay.                                                02:36:50

 23          Q      But the general question is why would you            02:36:51

 24    invest more than $300,000 in Cassava stock in                     02:36:52

 25    February of 2021?                                                 02:36:56




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                                                                          197
  1         A      I do not remember, sir.      It's been so long.     02:36:58

  2         Q      Did you do any research into Cassava's              02:37:05

  3    business before investing $300,000-plus in Cassava in           02:37:08

  4    February of 2021?                                               02:37:13

  5         A      Yes, sir.   Google search.                          02:37:14

  6         Q      Did you do anything besides conduct a Google        02:37:16

  7    search of Cassava?                                              02:37:18

  8         A      No, sir.                                            02:37:20

  9         Q      Do you know how you came across the name            02:37:21

 10    Cassava to search for?                                          02:37:23

 11         A      As I said, Google search.      Sometimes, you       02:37:27

 12    know, when you're watching Google News, it comes up.            02:37:29

 13    Like Cassava Sciences are looking for, you know, drugs,         02:37:32

 14    you know.    Now I put my -- do the Google search and,          02:37:36

 15    you know, different news comes up like that.                    02:37:39

 16         Q      Do you recall what you read on Google that led 02:37:44

 17    you to purchase the stock?                                      02:37:46

 18         A      Yes, some of it, not all, but that they are         02:37:49

 19    looking -- at that time I believe they had started doing 02:37:54

 20    some testing on Alzheimer, and I believe they had some          02:38:03

 21    research group in Sweden or Switzerland -- I don't know. 02:38:10

 22    I don't recall exactly -- and that it started some phase 02:38:15

 23    studies, and it seemed like to be a prominent company,          02:38:22

 24    so that's why I decided to go with Cassava Science.             02:38:27

 25         Q      You mentioned a research group in Sweden or         02:38:41




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                                                                       198
  1    Switzerland they had.     Who's the research group?          02:38:43

  2         A      I don't recall, sir.                             02:38:47

  3         Q      What did they conduct research on?               02:38:50

  4         A      On Alzheimer disease, trying to find a cure.     02:38:52

  5         Q      So do you think that Cassava was doing           02:38:57

  6    research in Switzerland or Sweden on finding a cure for      02:39:00

  7    Alzheimer's?                                                 02:39:06

  8         A      I think they had hired a consultant to do the    02:39:06

  9    testing for them.                                            02:39:08

 10         Q      Okay.   And do you know what the consultant was 02:39:10

 11    testing for?                                                 02:39:11

 12         A      Finding a cure for Alzheimer -- Alzheimer.       02:39:12

 13         Q      Do you know what Cassava does?                   02:39:16

 14         A      Looking for drug to cure Alzheimer.              02:39:18

 15         Q      Is there a difference between what Cassava       02:39:23

 16    does and what the research group in Switzerland or           02:39:25

 17    Sweden does?                                                 02:39:28

 18         A      I would not know, sir.                           02:39:29

 19         Q      You say, "It seemed to be a prominent            02:39:41

 20    company."                                                    02:39:43

 21                What do you mean by that?                        02:39:43

 22         A      Well, according to what I saw in Google, it      02:39:45

 23    seemed like they might have a -- that they are               02:39:47

 24    researching to get a product.      So -- and at that time,   02:39:52

 25    you know, even big, big companies, pension companies,        02:40:00




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                                                                       199
  1    they were buying this Cassava Science as well, you know. 02:40:03

  2              So -- and from the search that I did on            02:40:11

  3    Cassava Science, according to the Google, like I've done 02:40:13

  4    with all my other stock, it seemed to be a good stock to 02:40:17

  5    buy, a good share to buy.                                    02:40:21

  6         Q    Was your level of research into Cassava            02:40:24

  7    similar to the other companies you invested in in 2021?      02:40:26

  8         MR. DROSMAN:    Objection.   Vague and ambiguous.       02:40:30

  9         THE WITNESS:    I do not recall, sir.                   02:40:32

 10    BY MR. CAMPBELL:                                             02:40:35

 11         Q    Do you recall doing anything to research           02:40:36

 12    Cassava differently than you did from research in the        02:40:37

 13    other companies you invested in in 2021?                     02:40:40

 14         A    That, still I do not recall, sir.                  02:40:44

 15         Q    Anything significant about the news you read       02:40:54

 16    about Cassava that you recall being a motivation to buy      02:40:55

 17    300,000-plus worth of stock in February of 2021?             02:41:00

 18         MR. DROSMAN:    Objection.   Vague and ambiguous.       02:41:04

 19         THE WITNESS:    Can you repeat your question, please. 02:41:06

 20    BY MR. CAMPBELL:                                             02:41:08

 21         Q    Sure.                                              02:41:08

 22              Anything stick out in your mind that you           02:41:08

 23    recall from your Google search of Cassava that caused        02:41:10

 24    you to want to buy more than $300,000 worth of stock in      02:41:13

 25    the company in February 2021?                                02:41:17




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                                                                        200
  1          A    I still don't understand your question.            02:41:29

  2               You're asking why I buy the stock?     Is that     02:41:30

  3    what you're saying?                                           02:41:32

  4          Q    Yes.                                               02:41:34

  5          MR. DROSMAN:    Objection.   Asked and answered.        02:41:35

  6          THE WITNESS:    I do not recall, sir.                   02:41:41

  7    BY MR. CAMPBELL:                                              02:41:45

  8          Q    Anything -- any reason to believe Cassava was      02:41:48

  9    better than any other Alzheimer's company?                    02:41:50

 10          MR. DROSMAN:    Objection.   Vague and ambiguous.       02:41:53

 11          THE WITNESS:    That also, sir, I do not know.          02:41:58

 12    BY MR. CAMPBELL:                                              02:42:02

 13          Q    Do you know the name of Cassava's product?         02:42:02

 14          A    PT-125.                                            02:42:05

 15          Q    Do you know what PT-125 is?                        02:42:12

 16          A    No, sir.    I just know the name.   I don't know   02:42:15

 17    if I've passed the quiz or not, but I think it's PT-125. 02:42:17

 18          Q    Do you have an understanding of what PT-125        02:42:28

 19    stands for?                                                   02:42:30

 20          MR. DROSMAN:    Objection.   Asked and answered.        02:42:31

 21          THE WITNESS:    No, sir.                                02:42:32

 22    BY MR. CAMPBELL:                                              02:42:32

 23          Q    Do you know anything about Cassava's history       02:42:33

 24    as a company?                                                 02:42:34

 25          MR. DROSMAN:    Objection.   Vague and ambiguous.       02:42:35




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